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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

PATTI H. MENDERS, et al.,           )
                                    )
                  Plaintiffs,       )
                                    )
            v.                      )                Civil Action No. 1:21-cv-669 (AJT/TCB)
                                    )
LOUDOUN COUNTY SCHOOL BOARD, )
                                    )
                  Defendant.        )
____________________________________)

       On August 16, 2021, Defendant filed its Motion to Dismiss pursuant to Federal Rule of

Civil Procedure 12(b)(1) and 12(b)(6) [Doc. No. 25] (the “Motion”). On August 30, 2021,

Plaintiff timely filed an Amended Complaint pursuant to Fed. R. Civ. P. 15(a)(1)(B) [Doc. No.

30], upon consideration of which it is hereby

       ORDERED that the Motion [Doc. No. 25] be, and the same hereby is, DENIED as moot.

       The Clerk is directed to forward copies of this Order to all counsel of record.




Alexandria, Virginia
August 31, 2021
